Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 1 of 20 PageID# 22



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


  DEWI WAHYUNI, individually; as Personal
  Representative of the Estate of YOHANES, and           No. 23-cv-00475
  as next of friend of his minor child D.M.A.,
                                                         Honorable Claude M. Hilton
                           Plaintiff,

           v.

  THE BOEING COMPANY, a Delaware
  corporation,

                           Defendant.

                     DEFENDANT THE BOEING COMPANY’S ANSWER
                      TO PLAINTIFF’S COMPLAINT FOR DAMAGES

        Now comes Defendant, The Boeing Company (“Boeing”), by its counsel, Perkins Coie

 LLP and McGuireWoods LLP, to answer the Complaint (“Complaint”) of Dewi Wahyuni,

 individually and as Personal Representative of the estate of Yohanes, and as next friend of his

 minor child D.M.A. (“Plaintiff”). Boeing answers in paragraphs numbered to correspond to the

 paragraph numbers in the Complaint. All facts not specifically admitted are denied.

                                             OVERVIEW

         1.     On January 9, 2021, Sriwijaya Air Flight 182, a Boeing Model 737-500 aircraft (the
 “Subject Aircraft”), registration number PK-CLC, crashed into the Java Sea off the Thousand
 Islands region in the Republic of Indonesia. The crash killed all 62 persons on board, including
 Decedent.
        ANSWER:         Boeing admits that on January 9, 2021, a Boeing 737-500 aircraft registered

 as PK-CLC (“Subject Aircraft”), which was being operated by Sriwijaya Air as flight SJY182,

 crashed into the Java Sea and that all 62 people on board died. Boeing lacks knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in this paragraph,

 and therefore denies them.

         2.    Plaintiff is the personal representative of Decedent’s estate and guardian to his
 minor child. Specifically, Plaintiff is Decedent’s widow. Plaintiff brings this action under the
 Illinois Wrongful Death Act, 740 ILCS 180/1 et seq., to recover compensatory and punitive
 damages from Boeing, which caused the death of his loved one.
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 2 of 20 PageID# 23




        ANSWER:         Boeing lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations regarding the relationship between Dewi Wahyuni and D.M.A., and

 decedent Yohanes, and therefore denies them. The remaining allegations in this paragraph are

 conclusions of law to which no response is required. To the extent a response is required, Boeing

 denies the remaining allegations in this paragraph.

         3.      Decedent Yohanes, at the time of his death, was traveling to Pontianak for work
 related travel. At the time of his death, Decedent Yohanes was 27 years old. As a result of his
 untimely death, he left behind his loving parents, his minor child at the time of his crash, and his
 wife.
        ANSWER:         Boeing lacks knowledge or information sufficient to form a belief as to the
 truth of the allegations in this paragraph, and therefore denies them.

        4.       It is hereby alleged that Boeing caused Decedent’s untimely and horrific death
 because Boeing defectively designed, manufactured, and/or otherwise maintained a Boeing 737-
 500 aircraft that was not airworthy at the time it was operated by Sriwijaya Air on January 9, 2021
 as Sriwijaya Air Flight SJ 182.
        ANSWER:         Boeing denies the allegations in this paragraph.

          5.      It is further alleged that the Boeing 737 line of aircraft have been plagued with
 design decisions and manufacturing decisions which reflect what appear to be a historic pattern of
 Boeing misconduct, and which reflect an ingrained overemphasis on corporate profit over personal
 safety. Indeed, for the past several decades, as was only revealed through the catastrophic losses
 of two 737 Max planes with total fatality crashes, Boeing is alleged to have committed multiple
 acts of corporate malfeasance by making improper decisions, at the expense of safety, in the
 design, manufacture, assembly, maintenance, and/or provision of defective information relating to
 the operation and maintenance of its aircrafts. Indeed, the recent Boeing 737-MAX crashes in 2018
 and 2019 unearthed many of Boeing’s allegedly inherently dangerous, longstanding dangerous
 design and manufacturing practices, leading the United States Department of Justice to criminally
 prosecute Boeing for defrauding the Federal Aviation Administration (the “FAA”) in the Boeing
 737-MAX certification process by allegedly concealing the existence and/or defective nature of
 the MCAS software system that was the root cause of both the Lion Air Flight JT610 and Ethiopian
 Airlines Flight ET 302 crashes. Given the extent of other alleged technical defects and issues
 encountered in Boeing’s other aircraft models over the years, Plaintiff now alleges that Boeing’s
 disregard for safety in order to chase profit is an endemic culture within the company, and therefore
 it is likely that similar defects borne of a similar disregard for safety were present in the Subject
 Aircraft.
        ANSWER:         Boeing admits only that it executed a deferred prosecution agreement with

 the U.S. Department of Justice, Criminal Division, Fraud Section, and the U.S. Attorney’s Office

 for the Northern District of Texas, which includes a Statement of Facts (“the DPA”), on January

 6, 2021, and that the facts recited in the DPA’s Statement of Facts are true. The DPA speaks for



                                                  2
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 3 of 20 PageID# 24




 itself. Boeing denies the statements and characterizations in this paragraph to the extent they are

 inconsistent with the DPA. Boeing denies the remaining allegations in this paragraph.

        6.     Plaintiff seeks to recover for the grievous harm caused by Boeing’s alleged
 decision-making and to punish such corporate conduct in the hopes of preventing future tragedy.
        ANSWER:            This paragraph contains statements regarding Plaintiff’s intent to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

        7.

        ANSWER:            This paragraph contains no allegations.

                                            THE PARTIES

         8.      At all relevant times, Decedent was an individual residing in Indonesia, and was a
 citizen of the Republic of Indonesia.
        ANSWER:            Boeing lacks knowledge or information sufficient to form a belief as to the
 truth of the allegations in this paragraph.

         9.      Plaintiff is a citizen of Indonesia and is the duly appointed personal representative
 of the estate of the Decedent, and the legally appointed guardian of the minor child A.M.T.
        ANSWER:            Boeing lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in this paragraph, and therefore denies them.

          10.   At all relevant times, Boeing was and is a corporation organized under the laws of
 Delaware that is domiciled in, a resident of, and has its principal place of business in Cook County,
 Illinois.
        ANSWER:            Boeing admits only that it is a Delaware corporation with its headquarters

 in Arlington, Virginia. The allegations of principal place of business, domicile, and residency are

 legal conclusions to which no response is required. To the extent a response is required, Boeing

 denies the allegations.

         11.    At all relevant times, Boeing was engaged in the business of manufacturing,
 designing, assembling, maintaining, inspecting, testing, servicing, marketing, advertising, leasing,
 and distributing commercial aircrafts and their component parts, including the Subject Aircraft.
        ANSWER:            Boeing admits that it designs, manufactures, assembles, inspects, tests,

 markets, and sells aircraft, except for those components, parts, and systems that are designed,



                                                    3
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 4 of 20 PageID# 25




 manufactured, assembled, inspected, tested, marketed, or sold by others, and the components,

 parts, and systems that are subsequently removed, installed, exchanged, altered, modified,

 retrofitted, overhauled, or manufactured by others. Boeing further admits that it designed,

 manufactured, assembled, inspected, tested, marketed, and sold the Subject Aircraft, except for

 those components, parts, and systems of the Subject Aircraft that were designed, manufactured,

 assembled, inspected, tested, marketed, or sold by others, and the components, parts, and systems

 that were subsequently removed, installed, exchanged, altered, modified, retrofitted, overhauled,

 or manufactured by others. Boeing denies the remaining allegations in this paragraph.

                                   GENERAL ALLEGATIONS

 I.     Boeing’s Fall from Grace with the 737-MAX Crashes Reveals a Historic and Reckless
        Disregard of Basic Aircraft Safety Relevant to The Crash of the Subject Aircraft.

        ANSWER:         Boeing denies the allegations in this heading.

        12.     Throughout most of its history, Boeing has claimed to manufacture the most
 advanced commercial aircrafts of its time, with the highest safety standards. However, the
 October 29, 2018 Lion Air Flight JT610 crash, and the March 10, 2019 Ethiopian Airlines Flight
 ET 302 crash would reveal a shocking saga of what appears to be allegedly illegal and allegedly
 criminal conduct in connection with aviation design and manufacturing. These two consecutive
 crashes led to the unprecedented global grounding of the entire Boeing 737-MAX fleet for an
 extended indefinite period of time before the 737-MAX line was deemed flightworthy again.
        ANSWER:         Boeing admits that on October 29, 2018, a 737 MAX 8 being operated as
 Lion Air flight JT610 crashed. Boeing also admits that on March 10, 2019, a 737 MAX 8 being

 operated as Ethiopian Airlines flight ET302 crashed. Boeing admits that regulators in the U.S. and

 other countries issued operational restrictions on 737 MAX 8 and 9 aircraft after the crash of flight

 ET302. The U.S. lifted these operational restrictions in November 2020 and other regulators have

 subsequently lifted operational restrictions. Boeing also admits that it executed a deferred

 prosecution agreement with the U.S. Department of Justice, Criminal Division, Fraud Section, and

 the U.S. Attorney’s Office for the Northern District of Texas, which includes a Statement of Facts

 (“the DPA”), on January 6, 2021, and that the facts recited in the DPA’s Statement of Facts are

 true. The DPA speaks for itself. Boeing denies the statements and characterizations in this




                                                  4
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 5 of 20 PageID# 26




 paragraph to the extent they are inconsistent with the DPA. Boeing denies the remaining

 allegations in this paragraph.

         13.    In an attempt to deflect blame and public scrutiny to the Lion Air crash, as they had
 done in past crashes and would ultimately do here in connection with the crash of the Subject
 Aircraft, Boeing initially blamed the Lion Air flight crew as being incompetent and not trained to
 handle the specific emergency situation at issue. It was later discovered that Boeing did not
 disclose the existence of its MCAS software system that malfunctioned during flight - the same
 system which caused the aircraft in the Lion Air crash to pull its nose down multiple times while
 the pilots were desperately trying to fight the software without knowing the existence of such
 software (and its malfunction).
        ANSWER:         Boeing admits that MCAS activated on Lion Air flight JT610 in response

 to erroneous AOA input. Boeing also admits that it executed a deferred prosecution agreement

 with the U.S. Department of Justice, Criminal Division, Fraud Section, and the U.S. Attorney’s

 Office for the Northern District of Texas, which includes a Statement of Facts (“the DPA”), on

 January 6, 2021, and that the facts recited in the DPA’s Statement of Facts are true. The DPA

 speaks for itself. Boeing denies the statements and characterizations in this paragraph to the extent

 they are inconsistent with the DPA. Boeing denies the remaining allegations this paragraph.

          14.    By the time the second 737-MAX crash occurred on March 10, 2019, the ET302
 pilots had awareness of the MCAS system, and the pilots were even following the seemingly
 appropriate procedures set by Boeing to supposedly address what Boeing insisted was still largely
 a training issue. However, despite the pilots’ best efforts, they were unable to overcome the MCAS
 malfunction and the plane crashed in Bishoftu, Ethiopia, killing everyone on board. In the months
 following the two 737-MAX crashes, there was intense public scrutiny on Boeing to find answers
 why the two crashes happened. It was later revealed that in Boeing’s quest for maximum
 profitability, Boeing allegedly had historically and regularly committed corporate malfeasance and
 often times allegedly cut corners in order to maximize profitability of its commercial aircraft
 business. Boeing is alleged to have defrauded the United States FAA during the 737-MAX
 certification process, falsely claiming that the 737-MAX was an upgrade to the 737-series that
 would bypass the full recertification process from FAA, allowing Boeing to sell and deploy the
 737-MAX faster in order to stay competitive with its primary competitor Airbus. As a result of
 this alleged fraud, the FAA was unaware of the existence of the MCAS system at the time it issued
 the 737-MAX certification.
        ANSWER:         Boeing admits that a 737 MAX 8 being operated as Ethiopian Airlines flight

 302 crashed on March 10, 2019. Boeing also admits that MCAS activated on Ethiopian Airlines

 flight 302 in response to erroneous AOA input. Boeing also admits that it executed a deferred

 prosecution agreement with the U.S. Department of Justice, Criminal Division, Fraud Section, and

 the U.S. Attorney’s Office for the Northern District of Texas, which includes a Statement of Facts



                                                  5
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 6 of 20 PageID# 27




 (“the DPA”), on January 6, 2021, and that the facts recited in the DPA’s Statement of Facts are

 true. The DPA speaks for itself. Boeing denies the statements and characterizations in this

 paragraph to the extent they are inconsistent with the DPA. Boeing denies the remaining

 allegations in this paragraph.

         15.     In January 2021, the United States Department of Justice announced a Deferred
 Prosecution Agreement (the “DPA”) with Boeing, in which Boeing agreed to pay over $2.5 Billion
 dollars to resolve a criminal charge related to an alleged conspiracy to defraud the Federal Aviation
 Administration (the “FAA”) in connection with the FAA’s certification of the Boeing 737-MAX
 aircrafts.
         ANSWER:          Boeing admits that it entered into the DPA with the U.S. Department of
 Justice, Fraud Section on January 6, 2021, and that the facts recited in the DPA’s Statement of

 Facts are true. The DPA speaks for itself. Boeing denies the statements and characterizations in

 this paragraph to the extent they are inconsistent with the DPA. Boeing denies the remaining

 allegations in this paragraph.

          16.     Even prior to the 737-MAX scandal, Boeing had a history of blaming what
 appeared and were alleged to be obvious negligence in design, engineering, and manufacturing of
 its aircrafts on supposed primary causes involving pilot or third-party human errors, including pilot
 and maintenance errors, to avoid liability. For example:
          a.      The Boeing 747 Cargo Door incident: It is alleged that Boeing negligently
                  designed and manufactured Boeing 747 Cargo doors that caused cargo door locks
                  on certain aircraft to fail during flight, which ultimately killed nine passengers in
                  United Airlines Flight 8111 on February 24, 1989. This incident was predated by
                  Pan Am Flight 125 in 1987, outbound from London Heathrow Airport, where the
                  aircraft encountered cabin pressurization issues at 20,000 feet and managed to turn
                  around and land safely at Heathrow Airport. An inspection of the aircraft later
                  found that the cargo door’s locks were found to be either damaged or entirely
                  sheared off. This was a significant incident because the NTSB initially issued a
                  report attributing the fault to the ground maintenance crew, but later issued a
                  revised United Airlines Flight 811 accident report that determined the probable
                  cause of the accident was the sudden opening of the cargo door as a result of alleged
                  improper wiring and alleged deficiencies in the door design (see footnote 1).
                  Indeed, the revised NTSB report further concluded that contributing to the accident
                  was an alleged lack of timely corrective actions by Boeing following the Pan Am
                  Flight 125 incident in 1987.
          b.      Boeing 737 Rudder Issues: During the 1990s, it is alleged that there were a series
                  of mechanical and design issues affecting the rudder of the Boeing 737 series
                  resulting in multiple accidents, several of them causing fatalities. In at least two

 1
   National Transportation Safety Board Aircraft Accident Report – Explosive Decompression – Loss of Cargo Door
 in Flight United Airlines Flight 811 (URL:
 https://www.ntsb.gov/investigations/AccidentReports/Reports/AAR9202.pdf – Last Accessed Dec. 13, 2022).


                                                       6
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 7 of 20 PageID# 28



                  separate incidents (US Air Flight 4272 and United Airlines Flight 5853), pilots lost
                  control of their aircrafts due to alleged sudden and unexpected rudder movements,
                  and the resulting crashes killed everyone on board, 157 people in total. The National
                  Transportation Safety Board determined that the incidents were allegedly the result
                  of a design flaw that could result in an uncommanded movement of the aircraft’s
                  rudder. In US Air Flight 427, Boeing initially attempted to attribute the cause of the
                  crash to a claim that the pilots inadvertently activated the wrong rudder pedal in
                  reaction to the wake turbulence4.
         ANSWER:           Boeing admits that the NTSB issued final reports regarding United Airlines

 flight 811, US Air flight 427, and United Airlines flight 585. Those reports speak for themselves.

 Boeing denies the statements and characterizations in this paragraph and its subparts and footnotes

 to the extent they are inconsistent with the cited final reports. Boeing denies the remaining

 allegations in this paragraph and its subparts and footnotes.

         17.     Against this backdrop of numerous acts of alleged negligence and/or alleged
 corporate malfeasance, a history of alleged defective designs, and a history of blaming pilots and
 attributing crashes of its aircraft to purported pilot error, Plaintiff now brings this instant lawsuit
 against Boeing not only to seek fair and just compensation for the Decedent’s wrongful death, but
 to also shed light on the degree to which the long term effects of Boeing’s alleged historic
 malfeasance revealed in the 737 Max debacle may be far from over and may implicate commercial
 aircraft models still in the air other than the Boeing 737-MAX that were designed, manufactured,
 and sold by Boeing during a time when it is alleged to have engaged in similar patterns of
 misconduct.
         ANSWER:           This paragraph contains statements regarding Plaintiff’s intent to which no
 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

 II.     Boeing Designed, Manufactured, Assembled, Maintained, and Sold the Boeing 737-
         500 Aircraft that was Involved in the Accident
         ANSWER:           Boeing admits that it designed, manufactured, assembled, and sold the

 Subject Aircraft, which was being operated by Sriwijaya Air as Flight SJY182 on January 9, 2021,

 except for those components, parts, and systems of the Subject Aircraft that were designed,

 manufactured, assembled, or sold by others, and the components, parts, and systems that were


 2
   National Transportation Safety Board Aircraft Accident Report – Uncontrolled Descent and Collision With Terrain
 USAIR Flight 427, Section 3.2 (Probable Cause) (URL:
 https://www.ntsb.gov/investigations/AccidentReports/Reports/AAR9901.pdf – Last Accessed Dec. 13, 2022)
 3
   National Transportation Safety Board Aircraft Accident Report – Uncontrolled Descent and Collision With Terrain
 United Airlines Flight 585, Section 3.2 (Probable Cause) (URL:
 https://www ntsb.gov/investigations/AccidentReports/Reports/AAR0101.pdf – last accessed Dec. 13, 2022)
 4
   See Adair, Bill (2002). The Mystery of Flight 427: Inside a Crash Investigation. ISBN 1-58834-005-8.


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Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 8 of 20 PageID# 29




 subsequently removed, installed, exchanged, altered, modified, retrofitted, overhauled, or

 manufactured by others. Boeing denies the remaining allegations in this heading.

         18.    At a date prior to January 9, 2021, Boeing designed, manufactured, assembled, and
 sold the Subject Aircraft, a certain Boeing 737-500 aircraft that was ultimately registered as PK-
 CLC.
        ANSWER:         Boeing admits that on or before May 31, 1994 (the date the Subject Aircraft

 was delivered), it designed, manufactured, assembled, and sold the Subject Aircraft, which was

 being operated by Sriwijaya Air as Flight SJY182 on January 9, 2021, except for those

 components, parts, and systems of the Subject Aircraft that were designed, manufactured,

 assembled, or sold by others, and the components, parts, and systems that were subsequently

 removed, installed, exchanged, altered, modified, retrofitted, overhauled, or manufactured by

 others. Boeing denies the remaining allegations in this paragraph.

         19.     Boeing also drafted and published various documentation covering and intending
 to disclose to pilots and others the operations and maintenance of the aircraft, including but not
 limited to the following: Maintenance Manual, Quick Reference Handbook, and Flight Crew
 Training Manual. Boeing also published service bulletins from time to time to update airline
 operators of pertinent information relating to the operation and/or maintenance of the aircrafts
 (collectively, the “Boeing Documentation”).
        ANSWER:         Boeing admits that it makes available certain technical manuals for the
 maintenance and operation of the 737-model aircraft, including an Aircraft Maintenance Manual,

 a Quick Reference Handbook, and a Flight Crew Training Manual. Boeing further admits that it

 periodically issues service bulletins. Except as expressly admitted, the allegations in this paragraph

 are too vague and overly broad to permit an answer.

        20.    Boeing also designed, manufactured, and operated flight crew training programs,
 manuals, and training equipment as part of its sale and operation of its Boeing 737-500 aircraft
 program (collectively, “Boeing Training Materials”).
        ANSWER:         Boeing admits that it makes available certain technical manuals for the

 operation of the 737-500 model aircraft. Except as expressly admitted, the allegations in this

 paragraph are too vague and overly broad to permit an answer and Boeing therefore denies them.

         21.    After Sriwijaya Air acquired the Subject Aircraft, Boeing regularly provided
 further after-sale services, instructions, advice, and other services in connection with the
 maintenance and operation of the accident aircraft, as well as training Sriwijaya Air Flight Crew
 that operated Boeing aircrafts.


                                                   8
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 9 of 20 PageID# 30




         ANSWER:           Boeing admits only that, on a date prior to January 9, 2021, it provided to

 Sriwijaya Air certain technical manuals related to the operation and maintenance of 737-500 model

 aircraft. Except as expressly admitted, the allegations in this paragraph are too vague and overly

 broad to permit an answer and Boeing therefore denies them.

        22.      At the time that the Subject Aircraft left the custody and control of Boeing, it is
 hereby alleged that it was defective and unreasonably dangerous in one or more of the following
 respects as detailed in the Indonesian KNKT Final Report on the Sriwijaya Air SJ 182 crash dated
 November 11, 2022 (“KNKT Final Report”):
        a.       The Subject Aircraft was registered in Indonesia on or around May 2012. Records
                 indicate that there were known issues with Boeing’s Auto Throttle (“A/T”) system
                 before the accident on January 9, 20215.
        b.       Prior to the accident, it is alleged that there were also known problems with
                 Boeing’s Auto Pilot (“A/P”)6. KNKT Final Report at p. 127, Section 2.3.
        c.       After the January 9, 2021 crash, on February 15, 2021, Boeing issued a Flight
                 Operation Technical Bulletin on Airplane Upset Prevention and Recovery7, with
                 the clear implication (highly reminiscent of the MCAS bulletin issued on November
                 6, 2018 after the first 737-MAX crash8) that it had to correct its Airplane Upset
                 Prevention and Recovery procedures and protocol as a result of the January 9, 2021
                 accident.
        d.       On March 30, 2021, again reminiscent of the 737 MAX post-crash response by
                 Boeing, Boeing issued a Boeing Multi Operator Message (MOM) regarding the
                 Potential for Latent Flap Indication System Wiring Failure and Impacts to the
                 Autothrottle System9. Following the issuance of this MOM, the Federal Aviation
                 Administration (FAA) issued Airworthiness Directive AD-2021-08-14, which is
                 alleged to be yet another indication that there were alleged defects in maintenance
                 guides related to the Auto throttle System provided to airline operators, including
                 Sriwijaya Air.10
        e.       On March 25, 2022, Boeing published a revision to the Maintenance Planning
                 Document (MPD) for the 737-300/737-500 aircraft requiring repetitive inspections
                 on the spoiler and aileron deployment and associated position sensors11, further
                 reinforcing the notion that the maintenance directives it provided to Sriwijaya Air
                 for the accident aircraft at the time of the crash were likely inadequate and unsafe.
         ANSWER:           Boeing admits only that the KNKT has issued a final report regarding this

 accident. That document speaks for itself. Boeing denies the statements and characterizations in

 5
   KNKT Final Report at p. 127, Section 2.3.
 6
   KNKT Final Report at p. 127, Section 2.3.
 7
   KNKT Final Report at p. 144, Section 4.4.
 8
   Ostrower, Jon. Boeing issues 737 Max fleet bulletin on AoA warning after Lion Air crash (Nov. 7, 2018). The Air
 Current. URL: https://theaircurrent.com/aviation-safety/boeing-nearing-737-max-fleet-bulletin-on-aoa-warning-
 after-lion-air-crash/ – last accessed Jan. 1, 2023).
 9
   KNKT Final Report at p. 144, Section 4.4.
 10
    Id.
 11
    KNKT Final Report at p. 144, Section 4.4.


                                                         9
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 10 of 20 PageID# 31




 this paragraph and its subparts and footnotes to the extent they are inconsistent with the cited final

 report. Boeing denies the remaining allegations in this paragraph and its subparts and footnotes.

        23.     As such, it is alleged that the Subject Aircraft crashed due in substantial part or in
 whole to inherent defects present in the aircraft that can be attributed to Boeing’s defective design,
 manufacture, assembly, inspection, as well as Boeing’s defective aircraft operation and
 maintenance documentation provided to Sriwijaya Air at the time of the crash.
        ANSWER:         Boeing denies the allegations in this paragraph.

 III.   The January 9, 2021 Sriwijaya Air SJ 182 Crash
        ANSWER:         Boeing admits that on January 9, 2021, the Subject Aircraft was being

 operated by Sriwijaya Air as flight SJY182 from Jakarta, Indonesia to Pontianak, Indonesia and

 that it crashed into the Java Sea. Boeing denies any other allegations in this heading.

        24.      On January 9, 2021, the Subject Aircraft was being operated by Sriwijaya Airlines
 as Flight SJ 182 from Jakarta, Indonesia to Pontianak, Indonesia (the “Accident Flight”). The
 Accident Flight was a domestic flight within the boundaries of the Republic of Indonesia and was
 not conducted over international waters or the high seas. The plane ultimately crashed into the
 Java Sea, killing all passengers and crew aboard. Plaintiff’s husband, Decedent Yohanes, was a
 passenger on the accident aircraft during the Accident Flight.
        ANSWER:         Boeing admits that on January 9, 2021, the Subject Aircraft was being
 operated by Sriwijaya Air as flight SJY182 from Jakarta, Indonesia to Pontianak, Indonesia and

 that it crashed into the Java Sea. Boeing lacks knowledge or information sufficient to form a belief

 about Plaintiff’s allegations regarding her relationship to Yohanes and whether Yohanes was

 aboard the Subject Aircraft at the time of the crash, and therefore denies them. The remaining

 allegations in this paragraph are conclusions of law to which no response is required. To the extent

 a response is required, Boeing denies the remaining allegations in this paragraph.

         25.      It is further alleged that as the direct and proximate result of one or more of the
 aforesaid defective and unreasonably dangerous conditions of the accident aircraft, as well as the
 defective Boeing Documentation and Boeing Training Materials, the A/T and/or A/P systems
 and/or other systems designed and/or manufactured by Boeing failed within minutes after the
 Subject Aircraft took flight and departed the runaway in Jakarta and while it was flying over land.
 Specifically, it is alleged that the defects in the A/T and/or A/P systems or other systems designed
 and/or manufactured by Boeing to be determined through further discovery, caused dangerous
 conditions that would ultimately lead the aircraft to crash on that fateful day. As a result of these
 alleged defects, it is alleged that the aircraft plummeted into the Java Sea killing all passengers on
 board.
        ANSWER:         Boeing denies the allegations in this paragraph.



                                                  10
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 11 of 20 PageID# 32



          26.    It is anticipated that Boeing will attempt to blame third parties including pilots for
 the crash of the Subject Aircraft, and will attempt to move all discovery and fact finding and
 litigation out of the United States using tactics and conduct it has used in the past to try to argue
 that Boeing should not be held accountable in the courts of the very jurisdiction from which it does
 business worldwide and in the courts of the country where it designs and manufactures its planes.
 On information and belief, it is alleged that Boeing and/or its insurers and/or other third parties
 working with Boeing and/or its insurers use various tactics including attempting to obtain and/or
 enforce improper releases to try to set the stage for moving litigation and investigation offshore
 whenever possible, and have done so historically.
         ANSWER:        This paragraph contains Plaintiff’s predictions of what Boeing will do, to

 which no response is required. To the extent a response is required, Boeing denies the allegations

 in this paragraph.

                                              COUNT I

                      STRICT PRODUCTS LIABILITY AGAINST BOEING

             (Pursuant to the Illinois Wrongful Death Act, 740 ILCS 1801, et seq.)

         27.      Plaintiff realleges and incorporates by reference all preceding paragraphs as though
 fully set forth herein.
         ANSWER:        Boeing incorporates by reference its responses to Paragraphs 1–26 as if fully
 set forth herein.

         28.     At all relevant times, Boeing did design, manufacture, assemble, inspect, repair,
 endorse, draft, test, franchise, market, promote, advertise, supply, lease, distribute, and place into
 the stream of commerce the Subject Aircraft, Boeing Documentation, and Boeing Training
 Materials.
         ANSWER:        Boeing admits that on or before May 31, 1994 (the date the Subject Aircraft

 was delivered), it designed, manufactured, assembled, and sold the Subject Aircraft, which was

 being operated by Sriwijaya Air as Flight SJY182 on January 9, 2021, except for those

 components, parts, and systems of the Subject Aircraft that were designed, manufactured,

 assembled, or sold by others, and the components, parts, and systems that were subsequently

 removed, installed, exchanged, altered, modified, retrofitted, overhauled, or manufactured by

 others. Boeing also admits that, on a date prior to January 9, 2021, it provided to Sriwijaya Air

 certain technical manuals related to the operation and maintenance of 737-500 model aircraft.

 Boeing denies the remaining allegations in this paragraph.

        29.      At the time the subject aircraft, Boeing Documentation, and Boeing Training
 Materials left the hands of Boeing, the Subject Aircraft, Boeing Documentation, Boeing Training


                                                  11
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 12 of 20 PageID# 33



 Materials, and the components alleged above, were defective and unsafe in manufacture, design,
 drafting, and warnings.
        ANSWER:        Boeing denies the allegations in this paragraph.

         30.    On or about January 9, 2021, Sriwijaya Air and its officers, directors, employees,
 and/or agents and Decedent were using the subject aircraft in a reasonable and foreseeable manner.
 Sriwijaya Air and its officers, directors, employees, and/or agents and the Decedent were unaware
 that said products were unsafe for their intended use. The defective and unsafe conditions of
 aforesaid products caused the subject aircraft to plummet into an uncontrollable nosedive and crash
 into the Java Sea. Decedent was killed as a direct and legal result of the defective and unsafe
 conditions of said products and the component parts thereof.
        ANSWER:        Boeing denies the allegations in this paragraph.

        31.      Boeing knew or should have known of the defects in the design and manufacture
 of the aforesaid products, which constitutes a hazard for those coming into contact with the
 aforesaid products and the component parts, and Boeing failed to notify, warn, and protect those
 coming into contact with the aforesaid products, and such failure to warn was one of the legal
 causes of the incident and death of Decedent.
        ANSWER:        The allegations in this paragraph are conclusions of law to which no
 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

         32.   The aforesaid products failed to perform as safely as an ordinary consumer would
 have expected when the subject aircraft plummeted into an uncontrollable nosedive and crashed
 into the sea.
        ANSWER:        The allegations in this paragraph are conclusions of law to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

         33.    As a direct and legal result of the acts and omissions of Boeing, Decedent’s heirs
 have been deprived of the love, care, society, comfort, assistance, protection, affection,
 companionship, guidance, solace, services, and support of said Decedent, and have thereby
 sustained, and will continue to sustain, pecuniary loss in a sum as yet unascertained.
        ANSWER:        The allegations in this paragraph are conclusions of law to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

       WHEREFORE, Plaintiff requests that this Court grant judgment in their favor and against
 Defendant on Count I and award Plaintiff the following relief:
       (1)     Award Plaintiff all compensatory damages available under the law in an amount to
               be determined at trial;
       (2)     Award Plaintiff punitive damages in an amount to be determined at trial;


                                                 12
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 13 of 20 PageID# 34



         (3)      Award Plaintiff interest in an amount to be determined by the Court;
         (4)      Award Plaintiff court costs in an amount to be determined by the Court; and
         (5)      Grant such other relief as this Court deems appropriate and just.
         ANSWER:         Answering this unnumbered paragraph, Boeing denies that Plaintiff is

 entitled to any recovery from Boeing whatsoever. Boeing specifically denies that any potentially

 applicable law permits the recovery of punitive damages.

                                             COUNT II

                  NEGLIGENT PRODUCTS LIABILITY AGAINST BOEING

               (Pursuant to the Illinois Wrongful Death Act, 740 ILCS 180/1, et seq.)

         34.      Plaintiff realleges and incorporate by reference all preceding paragraphs as though
 fully set forth herein.
         ANSWER:         Boeing incorporates by reference its responses to Paragraphs 1–33 as if fully
 set forth herein.

        35.     At all times herein mentioned, Boeing so negligently, carelessly, recklessly, and
 with gross negligence, designed, manufactured, assembled, inspected, repaired, maintained,
 endorsed, drafted, tested, franchised, supplied, sold, leased, distributed, and placed into the stream
 of commerce the subject aircraft, Boeing Documentation, and Boeing Training Materials, and
 negligently failed to warn, relative to the said products and the components alleged above, and
 otherwise so negligently conducted itself, so as to directly and legally cause the injuries and
 damages described herein to Plaintiff.
         ANSWER:         The allegations in this paragraph are conclusions of law to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

         36.     At all times herein mentioned, Defendant Boeing knew, or in the exercise of
 reasonable care should have known, that the Subject Aircraft, Boeing Documentation, and Boeing
 Training Materials, and the components alleged above, were defectively and negligently
 manufactured, designed, assembled, tested, inspected, fabricated, constructed, distributed,
 marketed, and sold. Defendant Boeing failed to take reasonable steps to avoid exposing consumers,
 including Decedent, to the dangerous condition of such products, failed to disclose the products’
 known defects, failed to warn, failed to recall, failed to provide or send subsequent warnings after
 distribution to consumers, failed to warn Sriwijaya Air of the A/T and/or A/P issues, and otherwise
 so negligently conducted itself, so as to directly and legally cause the injuries and damages
 described herein to Decedent’s heirs, including Plaintiff.
         ANSWER:         The allegations in this paragraph are conclusions of law to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.


                                                  13
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 14 of 20 PageID# 35



         37.     On or about January 9, 2021, Sriwijaya Air and its officers, directors, employees,
 and/or agents and Decedent were using the Subject Aircraft, Boeing Documentation, and Boeing
 Training Materials in a reasonable and foreseeable manner. Sriwijaya Air and its officers,
 directors, employees, and/or agents and Decedent were unaware that said products were unsafe for
 their intended use. The defective and unsafe conditions of the foregoing products caused the
 subject aircraft to fall into an uncontrollable nosedive and crash into the sea. Decedent was killed
 as a result of the defective nature of the subject aircraft, Boeing Documentation, and Boeing
 Training Materials.
        ANSWER:         The allegations in this paragraph are conclusions of law to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

        38.     Boeing had a duty, as a designer and manufacturer of goods, to manufacture,
 design, inspect and test the Subject Aircraft, Boeing Documentation, and Boeing Training
 Materials to ensure they were safe for use by ordinary consumers.
        ANSWER:         The allegations in this paragraph are conclusions of law to which no
 response is required. To the extent a response is required, Boeing admits that it owed whatever

 duties are imposed by law and denies the remaining allegations in this paragraph.

        39.      From the time the subject aircraft, Boeing Documentation, and Boeing Training
 Materials were delivered to Sriwijaya Air to the time of the crash, the aforesaid products were only
 used for their intended purpose and were not modified, upgraded, altered, damaged, or
 substantially changed in any way.
        ANSWER:         Boeing lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in this paragraph, and therefore denies them.

         40.    As a direct and legal result of the acts and omissions of Defendant Boeing,
 Decedent’s heirs have been deprived of the love, care, society, comfort, assistance, protection,
 affection, companionship, guidance, solace, services, and support of said Decedent, and have
 thereby sustained, and will continue to sustain pecuniary loss in a sum as yet unascertained.
        ANSWER:         The allegations in this paragraph are conclusions of law to which no

 response is required. To the extent a response is required, Boeing denies the allegations in this

 paragraph.

       WHEREFORE, Plaintiff requests that this Court grant judgment in their favor and against
 Defendant on Count II and award Plaintiff the following relief:
       (1)     Award Plaintiff all compensatory damages available under the law in an amount to
              be determined at trial;
       (2)     Award Plaintiff punitive damages in an amount to be determined at trial;
       (3)     Award Plaintiff interest in an amount to be determined by the Court;
       (4)     Award Plaintiff court costs in an amount to be determined by the Court; and


                                                  14
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 15 of 20 PageID# 36



        (5)     Grant such other relief as this Court deems appropriate and just.
        ANSWER:         Answering this unnumbered paragraph, Boeing denies that Plaintiff is

 entitled to any recovery from Boeing whatsoever. Boeing specifically denies that any potentially

 applicable law permits the recovery of punitive damages.

                          AFFIRMATIVE AND OTHER DEFENSES
        Boeing alleges the following affirmative and other defenses to Plaintiff’s Complaint:

                                        FIRST DEFENSE
        1.      The Complaint and all claims for relief therein should be dismissed on the ground

 of forum non conveniens.

                                       SECOND DEFENSE
        2.      The Illinois (transferor) court lacks personal jurisdiction over Boeing.

                                        THIRD DEFENSE
        3.      The benefits of the design of the Subject Aircraft and each component thereof

 outweigh the risks associated therewith, if any.

                                       FOURTH DEFENSE
        4.      Boeing complied with all applicable federal, state, and foreign statutes, codes, and

 administrative regulations existing at the time the Subject Aircraft was manufactured and all

 applicable standards for design, inspection, testing, warning and manufacture.

                                        FIFTH DEFENSE
        5.      The Subject Aircraft was certified as airworthy by the Federal Aviation

 Administration and complied with all applicable codes, standards, and regulations of the United

 States and agencies thereof at the time it was delivered by Boeing.

                                        SIXTH DEFENSE
        6.      The design of the Subject Aircraft and each component thereof that was installed

 at the time of delivery by Boeing was consistent with or exceeded the “state of the art” at the time

 of its design and manufacture.




                                                    15
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 16 of 20 PageID# 37



                                       SEVENTH DEFENSE
         7.      The Subject Aircraft was intended for and sold to a knowledgeable and

 sophisticated user over whom Boeing had no control or right of control.

                                        EIGHTH DEFENSE
         8.      The Complaint and all claims for relief therein should be dismissed on the grounds

 that Plaintiff has failed to join necessary and indispensable parties.

                                         NINTH DEFENSE
         9.      Plaintiff may lack standing to bring this action or to bring claims arising out of

 alleged actions or omissions affecting a third-party.

                                         TENTH DEFENSE
         10.     Actions or omissions of third parties over whom Boeing had no control, which may

 include but are not limited to any entity that altered, modified, overhauled, or repaired any relevant

 equipment on the Subject Aircraft, were the sole, direct, and proximate cause of the damages, if

 any, of Plaintiff.

                                      ELEVENTH DEFENSE
         11.     Plaintiff’s claims may be barred in whole or in part and/or preempted by federal

 law.

                                       TWELFTH DEFENSE
         12.     If Plaintiff’s damages, if any, were proximately caused by the acts or omissions of

 others over whom Boeing had no control or right of control, those acts or omissions were a

 superseding and sole, direct, and proximate cause of Plaintiff’s damages, if any.

                                    THIRTEENTH DEFENSE
         13.     If Plaintiff’s decedent was injured by products originally designed, manufactured,

 assembled, inspected, tested, or sold by Boeing, those products were subsequently installed,

 removed, exchanged, altered, modified, retrofitted, repaired, overhauled, remanufactured,

 improperly maintained, or misused by persons and/or entities other than Boeing, and over whom

 Boeing had no control or right of control, and such installation, removal, change, alteration, repair,



                                                  16
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 17 of 20 PageID# 38




 modification, retrofitting, overhauling, remanufacturing, improper maintenance, or misuse

 proximately caused or contributed to the events alleged in the Complaint and the resulting damages

 complained of, if any.

                                     FOURTEENTH DEFENSE
         14.     An award or judgment rendered in favor of Plaintiff must be reduced by the amount

 of benefits Plaintiff received, or is entitled to receive, from any source as a result of this accident.

                                      FIFTEENTH DEFENSE
         15.     Some or all of Plaintiff’s claims and available damages may be barred by virtue of

 prior settlements.

                                      SIXTEENTH DEFENSE
         16.     Plaintiff’s Complaint fails to state a claim upon which relief can be granted against

 Boeing and further fails to state facts sufficient to entitle Plaintiff to the relief sought, or to any

 relief whatsoever, from Boeing.

                                    SEVENTEENTH DEFENSE
         17.     Boeing places in issue the negligence, fault, and responsibility of all persons and

 entities, which may include but are not limited to any entity that operated, altered, modified,

 overhauled, or repaired the Subject Aircraft or any relevant equipment on the Subject Aircraft,

 which have contributed in any degree to the injuries and damages alleged to have been sustained

 by Plaintiff. Judgment against Boeing, if any, should be diminished to an amount that represents

 Boeing’s degree of negligence, fault, or responsibility, if any.

                                     EIGHTEENTH DEFENSE
         18.     Plaintiff’s claims are barred by any applicable statute of limitations or repose,

 including 735 ILCS 5/13-213, if applicable. The subject aircraft was delivered in 1994, more than

 12 years before the filing of the Complaint.

                                     NINETEENTH DEFENSE
         19.     Plaintiff’s claim for punitive damages is barred or limited by provisions of the

 United States Constitution, state constitutions, or other applicable law including, without


                                                   17
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 18 of 20 PageID# 39




 limitation, proscriptions against double jeopardy and excessive fines and provisions assuring due

 process of law and equal protections of laws.

                                     TWENTIETH DEFENSE
         20.     Evidence of subsequent remedial measures is not admissible to prove liability. See

 Federal Rule of Evidence 407.

                                   TWENTY-FIRST DEFENSE
         21.     Plaintiff’s claims may be barred by virtue of failing to properly identify a personal

 representative qualified to seek relief on behalf of the Decedent.

   NOTICE OF THE APPLICABILITY OF THE LAW OF ANOTHER JURISDICTION
         22.     Pursuant to Federal Rule of Civil Procedure 44.1, Boeing gives notice that it may

 raise issues concerning the applicability of the law of another jurisdiction, including but not limited

 to the laws of other states and/or a foreign country or countries, and reserves the right to assert and

 plead such other claims and defenses available to it arising out of the application of the substantive

 laws of another jurisdiction.

                                   RESERVATION OF RIGHTS
         23.     Boeing reserves the right to add those affirmative defenses which it deems

 necessary to its defense or upon conclusion of investigation and discovery. Boeing further reserves

 the right to assert any additional affirmative defenses allowed by the law of the jurisdiction found

 to apply in this case.

                 PRAYER FOR RELIEF AND DEMAND FOR JUDGEMENT
         WHEREFORE, Defendant The Boeing Company prays as follows:

         A.      That Plaintiff takes nothing by the Complaint, that the Complaint be dismissed, and

 that judgment on the Complaint be entered for Boeing;

         B.      That Boeing be awarded its costs of suit and attorneys’ fees;

         C.      That the Court grant such further relief as the Court may deem just and proper.




                                                   18
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 19 of 20 PageID# 40



                                         JURY DEMAND
        To the extent the court determines the applicable law allows for a jury trial (an issue on

 which Boeing takes no position at this time), Boeing demands a jury trial of all claims, defenses,

 counterclaims, cross-claims, and third-party claims, if any, which do not deprive this Court of

 jurisdiction over the subject matter of any claim or the person of any party.

  Dated: October 16, 2023                             By: /s/ Benjamin L. Hatch
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                                                 19
Case 1:23-cv-00475-CMH-WEF Document 27 Filed 10/16/23 Page 20 of 20 PageID# 41




                                  CERTIFICATE OF SERVICE
         I, Benjamin L. Hatch, certify that on October 16, 2023, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 to all attorneys of record.

         I certify under penalty of perjury that the foregoing is true and correct.

         DATED this 16th day of October, 2023.


                                                /s/ Benjamin L. Hatch
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